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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )         Case No. 4:05CR3065
                    Plaintiff,              )
                                            )
             vs                             )         MEMORANDUM
                                            )          AND ORDER
LORENZO ROBLEDO, JR.,                       )
                                            )
                    Defendant.              )

       This case is set for trial next week. The defendant, through his counsel, has
notified me today that he intends to enter a plea of guilty and he requests that the case
be taken off the trial calendar. He agrees that the plea may be set before Judge
Piester. He also agrees that the time resulting from the continuance may be excluded
from computation under the Speedy Trial Act. The government has no objection.
Thus,

       IT IS ORDERED that this matter is taken off the trial calendar, continued and
shall be scheduled for a plea before Magistrate Judge Piester. On Tuesday, October
11, 2005, counsel shall call the judicial assistant for the undersigned, Kristin
Leininger, to schedule the plea. After consideration of 18 U.S.C. § 3161, and
particularly 18 U.S.C. § 3161(h)(1)(I) and (8)(A)&(B), the following time is excluded
from computation under the Speedy Trial Act in the interests of justice, to wit: the
time between this date and the date the plea is accepted or rejected by the
undersigned.

      October 7, 2005.                          BY THE COURT:

                                                s/Richard G. Kopf
                                                United States District Judge
